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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KIM THOMAS,

                       Plaintiff,
                                                      20 Civ. 9274 (KPF)
                  -v. -
                                                ORDER OF SERVICE AND
COMMISSIONER OF SOCIAL                           SCHEDULING ORDER
SECURITY,

                       Defendant.

KATHERINE POLK FAILA, District Judge:

      The Clerk of Court shall notify the U.S. Attorney’s Office for the Southern

District of New York of the filing of this pro se case, brought under 42 U.S.C.

§ 405(g), for which the filing fee has been waived.

      In accordance with the Standing Order “Motions for Judgment on the

Pleadings in Social Security Cases,” 16-MC-0171 (Apr. 20, 2016):

      Within 90 days of the date of this order, the Commissioner must serve

and file the Electronic Certified Administrative Record (e-CAR), which will

constitute the Commissioner’s answer, or otherwise move against the

complaint.

      If the Commissioner wishes to file a motion for judgment on the

pleadings, the Commissioner must do so within 60 days of the date on which

the e-Car was filed. The motion must contain a full recitation of the relevant

facts and a full description of the underlying administrative proceeding.
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      The plaintiff must file an answering brief within 60 days of the filing of

the Commissioner’s motion. The Commissioner may file a reply within 21 days

thereafter.

      Memoranda in support of or in opposition to any dispositive motion may

not exceed 25 pages in length; reply memoranda may not exceed ten pages in

length. A party seeing to exceed these page limitations must apply to the Court

for leave to do so, with copies to all counsel, no fewer than seven days before

the date on which the memorandum is due.

      The Clerk of Court is directed to mail a copy of this Order to Plaintiff.

      SO ORDERED.

Dated:        November 9, 2020
              New York, New York                 _______________________________
                                                   KATHERINE POLK FAILLA
                                                  United States District Judge
